Case: 2:04-cv-01156-EAS-MRM Doc #: 721 Filed: 04/07/10 Page: 1 of 6 PAGEID #: 15902




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

 RICHARD COOEY,

                Plaintiff,

 DARRYL DURR,
                                                        Case No. 2:04-cv-1156
                Intervenor Plaintiff,                   JUDGE GREGORY L. FROST
                                                        Magistrate Judge Mark R. Abel
        v.

 TED STRICKLAND, et al.,

                Defendants.

                                      OPINION AND ORDER

        Richard Cooey, a state prisoner sentenced to death by the State of Ohio, is the original

 plaintiff in a civil rights action pending before this Court that challenges multiple facets of the

 lethal injection protocol used by the State of Ohio. This matter is before the Court upon the

 motion of Intervenor Plaintiff Darryl Durr for the appointment of an expert pursuant to Harbison

 v. Bell, 129 S.Ct. 1481 (2009). (Doc. # 713.) Also before the Court is Defendants’

 memorandum in opposition. (Doc. # 715.) For the following reasons, the Court finds Durr’s

 motion not persuasive in regard to Harbison, but grants the requested funds on alternative

 grounds.

        Durr asks the Court to appoint Dr. Mark Heath for the purpose of examining Durr’s

 medical records and rendering an opinion on the effect that Durr’s claimed allergy to general

 anesthetic might have on the administration of the lethal injection drugs by which the State

 intends to execute him. Citing Cooey v. Strickland, 589 F.3d 210 (6th Cir. 2009), Durr asserts

 that the Sixth Circuit has held–and this Court has recognized–that an inmate under sentence of
Case: 2:04-cv-01156-EAS-MRM Doc #: 721 Filed: 04/07/10 Page: 2 of 6 PAGEID #: 15903




 death seeking to challenge whether the State may administer its lethal injection protocol

 consistent with the Eighth Amendment’s proscription against cruel and unusual punishment and

 seeking to obtain an injunction staying his execution on the basis of such a challenge, must

 advance “particularized arguments that would remove him from the broad scope of the Sixth

 Circuit’s wholesale rejection of [previous] generalized arguments.” (Doc. # 713, at 6 (quoting

 Doc. # 22, at 6).) Durr asserts that he may be able to do just that, but only with the assistance of

 Dr. Heath. Durr explains that he has asked Dr. Heath to render an opinion regarding whether or

 to what extent Durr’s claimed allergy to general anesthetic might affect the administration of

 lethal injection drugs but that Dr. Heath needs to examine Durr’s medical records in order to

 render any opinion. Durr asserts that he is indigent and unable to pay for Dr. Heath’s services

 without an order by this Court appointing Dr. Heath.

        Durr asserts that the Supreme Court’s decision of Harbison v. Bell, 129 S.Ct. 1481

 (2009) authorizes this Court to allow funds pursuant to 18 U.S.C. § 3599(f) for expert services

 that are reasonably necessary for counsel’s representation of an indigent capital defendant. Durr

 reasons that Dr. Heath’s services are reasonably necessary “in order to determine the effect that

 the lethal injection drugs will have on him and weigh the resulting risks of using those drugs on

 [Durr] given his medical history.” (Doc. # 713, at 8.)

        Defendants oppose Durr’s motion in its entirety, arguing that Durr’s reliance on

 Harbison v. Bell “is erroneous completely.” (Doc. # 715, at 2.) Defendants assert that Harbison

 extends to authorize appointment of federally appointed counsel only to represent a capital

 prisoner in subsequent state clemency proceedings, not to represent such prisoners in civil

 actions against state officials or any proceedings unrelated to vacating the death sentence or


                                                  2
Case: 2:04-cv-01156-EAS-MRM Doc #: 721 Filed: 04/07/10 Page: 3 of 6 PAGEID #: 15904




 challenging the prisoner’s competency.

        The issue before the Court is whether 18 U.S.C. § 3599, as interpreted by the Supreme

 Court in Harbison v. Bell, authorizes the Court to appoint Dr. Heath to assist Durr in not only

 raising an Eighth Amendment challenge to the means by which the State intends to execute Durr

 but also obtaining a preliminary injunction staying his execution, scheduled for April 20, 2010.

 Section 3599(a)(2), 18 United States Code, entitles indigent capital defendants pursuing habeas

 corpus relief to the appointment of one or more attorneys, as well as the furnishing of other

 services. Section 3599(e) provides:

        Unless replaced by similarly qualified counsel upon the attorney’s own motion or
        upon motion of the defendant, each attorney so appointed shall represent the
        defendant throughout every subsequent stage of available judicial proceedings,
        including pretrial proceedings, trial, sentencing, motions for new trial, appeals,
        applications for writ of certiorari to the Supreme Court of the United States, and
        all available post-conviction process, together with applications for stays of
        execution and other appropriate motions and procedures, and shall also represent
        the defendant in such competency proceedings and proceedings for executive or
        other clemency as may be available to the defendant.

 18 U.S.C. § 3599(e). In Harbison v. Bell, the Supreme Court held that “§ 3599(e) authorizes

 federally appointed counsel represent their clients in state clemency proceedings and entitles

 them to compensation for that representation.” Harbison, 129 S.Ct. at 1491. The Supreme

 Court explained that “[u]nder a straightforward reading of the statute, subsection (a)(2) triggers

 the appointment of counsel for habeas petitioners, and subsection (e) governs the scope of

 appointed counsel’s duties.” Harbison, 129 S.Ct. at 1486.

        Concerning the furnishing of expert or other investigative services, 18 U.S.C. § 3599(f)

 provides in relevant part:

        Upon a finding that investigative, expert, or other services are reasonably
        necessary for the representation of the defendant, whether in connection with

                                                  3
Case: 2:04-cv-01156-EAS-MRM Doc #: 721 Filed: 04/07/10 Page: 4 of 6 PAGEID #: 15905




         issues relating to guilt or the sentence, the court may authorize the defendant’s
         attorneys to obtain such services on behalf of the defendant and, if so authorized,
         shall order the payment of fees and expenses therefore under subsection (g).

 18 U.S.C. § 3599(f). Few cases exist defining what “reasonably necessary” means within the

 context of this statute.1 “However, on the whole, the rulings appear very case-specific and the

 analyses fact-intensive.” Bradford v. Johnson, 162 F.Supp.2d 578, 580 (N.D. Tex. 2001). It is

 within the district court’s discretion to find that a petitioner has not demonstrated that funds are

 “reasonably necessary,” and to deny a request for funding as a result, where the petitioner’s

 request is based on “mere suspicion and surmise.” Patrick v. Johnson, 48 F.Supp.2d 645, 647

 (N.D. Tex. 1999); see also Bell v. True, 366 F.Supp.2d 403, 408 (W.D. Va. 2005) (denying

 request for funds where services would be duplicative and amount to a fishing expedition);

 Delong v. Thompson, 790 F.Supp. 594, 616-17 (E.D. Va. 1991) (denying request for funds where

 proposed investigation constituted a “fishing expedition”). In Alley v. Bell, 307 F.3d 380, 399

 n.7 (6th Cir. 2002), the Court of Appeals for the Sixth Circuit affirmed the denial of a motion for

 funds for brain and genetic tests aimed at gathering additional evidence of mental impairment

 that counsel had failed to investigate because the petitioner had failed to demonstrate how the

 tests were relevant to the only inquiry before the district court–namely, whether the state courts

 had reasonably applied federal law in holding that trial counsel had not provided ineffective

 assistance. On the other hand, a district court should grant a request for funds as reasonably

 necessary when “a substantial question exists over an issue requiring expert testimony for its

 resolution and the defendant’s position cannot be fully developed without professional

 assistance.” Foust v. Houk, No. 1:06 CV 2625, 2008 WL 162786, at *4 (N.D. Ohio Jan. 15,

         1
                  Pursuant to the “USA PATRIOT Improvement and Reauthorization Act,” the provisions of 21
 U.S.C. § 848(q)(9) were replaced with identical provisions now set forth in 18 U.S.C. § 3599(f).

                                                      4
Case: 2:04-cv-01156-EAS-MRM Doc #: 721 Filed: 04/07/10 Page: 5 of 6 PAGEID #: 15906




 2008) (citations and internal quotation marks omitted).

         The Court is more than satisfied that the funds that Durr seeks to retain Dr. Heath’s

 services are “reasonably necessary” under any definition of that phrase. The precise question

 that the Court must answer, however, is whether Harbison should be read to entitle Durr to

 federally appointed expert services for the purpose of pursuing an Eighth Amendment challenge

 to the method by which the State intends to execute Durr. The Court is constrained to answer

 that question in the negative. Defendants correctly point out that the provisions of the statute at

 the heart of the Supreme Court’s Harbison decision are available only to indigent capital

 defendants seeking to vacate or set aside a death sentence, challenge competency to be executed,

 or pursue executive clemency. As the Court noted above, 18 U.S.C. § 3599(a)(2) entitles an

 indigent capital defendant to the appointment of one or more attorneys and the furnishing of

 other services “[i]n any post conviction proceeding under section 2254 or 2255 of title 28,

 United States Code, seeking to vacate or set aside a death sentence . . . .” The section that the

 Supreme Court examined in Harbison–18 U.S.C. § 3599(e)–defines the scope of federally

 appointed counsel’s duties and the comprehensive list of available proceedings envisioned, set

 forth in its entirety above, does not include civil actions against state officials.

         The Court is not insensitive to the constraints established by the Sixth Circuit, essentially

 requiring Durr to set forth individualized arguments unique to him establishing a strong

 likelihood that the method by which the State intends to execute him will violate his right under

 the Eighth Amendment not to be subjected to cruel and unusual punishment. This Court also

 recognizes the uphill battle that Durr faces in attempting to establish that he might well have

 such an individualized argument–namely, a claimed allergy to general anesthetic that may


                                                    5
Case: 2:04-cv-01156-EAS-MRM Doc #: 721 Filed: 04/07/10 Page: 6 of 6 PAGEID #: 15907




 interfere with the administration of the drugs by which the State intends to execute its death

 sentence against Durr.

        Consequently, although the Court rejects the mechanism upon which Durr relies to obtain

 the funds he seeks, this Court turns to an alternative mechanism to grant the requested relief to

 Durr. General Order 05-1 established an Expense Reimbursement Fund for reimbursement of

 expenses incurred in cases in which counsel represents litigants who are proceeding in forma

 pauperis. Rather than denying Durr’s motion outright and not advising counsel of this

 appropriate mechanism by which the funds can be obtained, this Court in its discretion approves

 the requested expenditure of funds pursuant to the authority recognized in General Order No. 05-

 1. Accepting the estimate proffered by Durr via the email communication of Dr. Heath and

 counsel for Durr, the Court caps the funding at five hours at the rate of $350.00 per hour for

 review of the medical records, preparation of a report, and any related testimony.

        IT IS SO ORDERED.

                                                      /s/ Gregory L. Frost
                                                      GREGORY L. FROST
                                                      UNITED STATES DISTRICT JUDGE




                                                  6
